                                        LOCAL BANKRUPTCY FORM 3015-1

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                                        CHAPTER 13

 ARTHUR PAUL PRICE                                             CASE NO. 5:23-BK-02361-MJC

                                                               ☒       ORIGINAL PLAN
                                                               __      AMENDED PLAN (indicate 1st, 2nd 3rd, etc.)

                                                                 0 number of Motions to Avoid Liens
                                                                 0 number of Motions to Value Collateral

                                                  CHAPTER 13 PLAN

                                                       NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item
is checked as “Not Included” or if both boxes are checked or if neither box is checked, the provision will be ineffective if
set out later in the plan.

  1     The Plan contains nonstandard provisions, set out in §9, which are not
        included in the standard Plan as approved by the US Bankruptcy Court          ☐ Included        ☒ Not Included
        for the Middle District of Pennsylvania.
  2     The Plan contains a limit on the amount of a secured claim, set out in
        §2.E, which may result in a partial payment or no payment at all to the       ☐ Included        ☒ Not Included
        secured creditor.
  3     The Plan avoids a judicial lien or nonpossessory, nonpurchase-money
                                                                                      ☐ Included        ☒ Not Included
        security interest, set out in §2.G.

                                        YOUR RIGHTS WILL BE AFFECTED

READ THIS PLAN CAREFULLY. If you oppose any provision of this Plan, you must file a timely written objection. This
Plan may be confirmed and become binding on you without further notice or hearing unless a written objection is filed
before the deadline stated on the Notice issued in connection with the filing of the Plan.

    1. PLAN FUNDING AND LENGTH OF PLAN

            A. Plan Payments from Future Income

                1. To date, the Debtor paid $0.00 ($0 if no payments have been made to the Trustee to date). Debtor shall
                   pay to the Trustee for the remaining term of the Plan the following payments. If applicable, in addition
                   to monthly Plan payments, Debtor shall make conduit payments through the Trustee as set forth below.
                   The total base Plan is $37,500.00 plus other payments and property stated in §1B below:

                                                                    Estimated            Total
       Start               End                  Plan                                                     Total Payment
                                                                     Conduit            Monthly
      mm/yyyy             mm/yyyy             Payment                                                    Over Plan Tier
                                                                    Payment             Payment
      11/2023             10/2028              $625.00                 $0.00             $625.00           $37,500.00
                                                                                     Total Payments:       $37,500.00



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        2. If the Plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that a
           different payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in writing,
           to adjust the conduit payment and the Plan funding. Debtor must pay all post-petition mortgage
           payments that have come due before the initiation of conduit mortgage payments.

        3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the terms of
           the Plan.

        4. CHECK ONE:
           ☐ Debtor is at or under median income. If this line is checked, the rest of §1.A.4 need not be completed
           or reproduced.
           ☒ Debtor is over median income. Debtor estimates that a minimum of $119,826.60 must be paid to
           allowed unsecured creditors in order to comply with the Means Test.

     B. Additional Plan Funding from Liquidation of Assets/Other

        1. The Debtor estimates that the liquidation value of this estate is $66,902.00. (Liquidation value is
           calculated as the value of all non-exempt assets after the deduction of valid liens and encumbrances is
           before the deduction of Trustee fees and priority claims.)

            CHECK ONE:
            ☒ No assets will be liquidated. If this line is checked, skip §1.B.2 and complete §1.B.3, if applicable.
            ☐ Certain assets will be liquidated as follows:

        2. In addition to the above specified Plan payments, Debtor shall dedicate to the Plan proceeds in the
           estimated amount of $0.00 from the sale of property known and designated as                 . All sales shall
           be completed by         , 20      . If the property does not sell by the date specified, then the disposition
           of the property shall be as follows:

        3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as follows:

2. SECURED CLAIMS

     A. Pre-Confirmation Distributions Check One

            ☒ None. If “None” is checked, the rest of §2.A need not be completed or reproduced.
            ☐ Adequate protection and conduit payments in the following amounts will be paid by the Debtor to
            the Trustee. The Trustee will disburse these payments for which a Proof of Claim has been filed as
            soon as practicable after receipt of said payments from the Debtor.

                                                                              Last Four Digits         Estimated
                        Name of Creditor                                        of Account             Monthly
                                                                                 Number                Payment




         1. The Trustee will not make a partial payment. If the Debtor makes a partial Plan payment, or if it is
            not paid on time and the Trustee is unable to pay timely a payment due on a claim in this section, the
            Debtor’s cure of this default must include any applicable late charges.

         2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in the conduit payment
            to the Trustee will not require modification of this Plan.


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       B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct Payments
          by Debtor Check One

               ☐ None. If “None” is checked, the rest of §2.B need not be completed or reproduced.
               ☒ Payments will be made by the Debtor directly to the Creditor according to the original contract
               terms, and without modification of those terms unless otherwise agreed to by the contracting parties.
               All liens survive the Plan if not avoided or paid in full under the Plan.

                                                                                                             Last Four
                                                                                                              Digits of
                 Name of Creditor                                     Description of Collateral
                                                                                                              Account
                                                                                                              Number
                                                                       304 Weavertown Road
           PennyMac Loan Services, LLC                                                                          5363
                                                                       Shavertown, PA 18708
           Global Lending Services, LLC                                2021 Subaru Crosstrek                    0029

       C. Arrears (Including, but not limited to, Claims Secured by Debtor’s Principal Residence) Check One

               ☐ None. If “None” is checked, the rest of §2.C need not be completed or reproduced.
               ☒ The Trustee shall distribute to each Creditor set forth below the amount of arrearages in the allowed
               claim. If post-petition arrears are not itemized in an allowed claim, they shall be paid in the amount
               stated below. Unless otherwise ordered, if relief from the automatic stay is granted as to any collateral
               listed in this section, all payments to the Creditor as to that collateral shall cease, and the claim will no
               longer be provided for under §1322(b)(5) of the Bankruptcy Code:

                                                                   Estimated Pre-      Estimated
                                                                                                            Estimated
                                                                       Petition       Post-Petition
     Name of Creditor              Description of Collateral                                               Total to be
                                                                    Arrears to be     Arrears to be
                                                                                                           Paid in Plan
                                                                       Cured             Cured
                                    304 Weavertown Road
PennyMac Loan Services, LLC                                          $18,000.00            $0.00            $18,000.00
                                    Shavertown, PA 18708
Global Lending Services, LLC        2021 Subaru Crosstrek            $2,000.00             $0.00            $2,000.00

       D. Other Secured Claims (Conduit Payments and Claims for Which a §506 Valuation is Not Acceptable,
          etc.) Check One

               ☒ None. If “None” is checked, the rest of §2.D need not be completed or reproduced.
               ☐ The claims below are secured claims for which a §506 valuation is not applicable, and can include:
               (1) claims that were either (a) incurred within 910 days of the petition dated and secured by a purchase
               money security interest in a motor vehicle acquired for the personal use of the Debtor, or (b) incurred
               within one year of the petition date and secured by a purchase money security interest in any other thing
               of value; (2) conduit payments; or (3) secured claims not provided for elsewhere.

               1. The allowed secured claims listed below shall be paid in full and their liens retained until the earlier
                  of the payment of the underlying debt determined under nonbankruptcy law discharge under §1328
                  of the Code.

               2. In addition to payments of the allowed secured claim, present value interest pursuant to 11 U.S.C
                  §1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below, unless an objection is
                  raised. If an objection is raised, then the Court will determine the present value interest rate and
                  amount at the Confirmation Hearing.

               3. Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid, payments on
                  the claim shall cease.

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                                                                      Principal                      Total to be
                                                                                       Interest
   Name of Creditor                   Description of Collateral       Balance of                      Paid in
                                                                                        Rate
                                                                        Claim                           Plan




   E. Secured Claims for Which a §506 Valuation is Applicable Check One

          ☒ None. If “None” is checked, the rest of §2.E need not be completed or reproduced.
          ☐ Claims listed in the subsection are debts secured by property not described in §2.D of this Plan.
          These claims will be paid in the Plan according to modified terms, and liens retained until the earlier
          of the payment of the underlying debt determined under nonbankruptcy law or discharge under §1328
          of the Code. The excess of the Creditor’s claim will be treated as an unsecured claim. Any claim listed
          as “$0.00” or “NO VALUE” in the “Modified Principal Balance” column below will be treated as an
          unsecured claim. The liens will be avoided or limited through the Plan or Debtor will file an adversary
          or other action (select method in last column). To the extent not already determined, the amount, extent
          or validity or the allowed secured claim for each claim listed below will be determined by the Court at
          the Confirmation Hearing. Unless otherwise ordered, if the claimant notifies the Trustee that the claim
          was paid, payments on the claim shall cease.

                                                  Value of                                             Plan,
                            Description of       Collateral                          Total          Adversary,
Name of Creditor                                                Interest Rate
                             Collateral          (Modified                          Payment          or Other
                                                 Principal)                                           Action



   F. Surrender of Collateral Check One

          ☐ None. If “None” is checked, the rest of §2.F need not be completed or reproduced.
          ☒ The Debtor elects to surrender to each Creditor listed below in the collateral that secures the
          Creditor’s claim. The Debtor requests that upon confirmation of this Plan or upon approval of any
          modified plan, the stay under 11 U.S.C. §362(a) be terminated as to the collateral only and that the stay
          under §1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition
          of the collateral will be treated in Part 4 below.


                                                                     Description of Collateral
           Name of Creditor
                                                                        to be Surrendered

            Mariner Finance                                            Various Personal Items


   G. Lien Avoidance Do not use for mortgages or for statutory liens, such as tax liens. Check One of the
      Following Lines

      ☒ None. If “None” is checked, the rest of §2.B need not be completed or reproduced.
      ☐ The Debtor moves to void the following judicial and/or nonpossessory, nonpurchase money liens of the
      following creditors pursuant to §522(f) (this § should not be used for statutory or consensual liens such as
      mortgages).

                    Name of Lien Holder
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                         Lien Description
       for Judicial Liens, include court and docket number
                  Description of Liened Property
                        Liened Asset Value
                       Sum of Senior Liens
                         Exemption Claim
                          Amount of Lien
                         Amount Avoided

3. PRIORITY CLAIMS

     A. Administrative Claims

        1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United States
           Trustee.

        2. Attorney’s Fees. Complete Only One of the Following Options

                a. In addition to the retainer of $368.00 already paid by the Debtor, the amount of $4,132.00 in
                   the Plan. This represents the unpaid balance of the presumptively reasonable fee specified in
                   LBR 2016-2(c); or
                b. $0.00 per hour, with the hourly rate to be adjusted in accordance with the terms of the written
                   fee agreement between Debtor and the Attorney. Payment of such lodestar compensation shall
                   require a separate fee application with the compensation approved by the Court pursuant to
                   LBR 2016-2(b).

        3. Other. Other administrative claims not included in §§3.A.1 or 3.A.2 above. Check One

            ☒ None. If “None” is checked, the rest of §3.A.3 need not be completed or reproduced.
            ☐ The following administrative claims will be paid in full:



                       Name of Creditor                                           Estimated Total Payment




     B. Priority Claims (including certain Domestic Support Obligations)

        Allowed unsecured claims entitled to priority under §1322(a) will be paid in full unless modified under §9



                       Name of Creditor                                           Estimated Total Payment




     C. Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C.
        §507(1)(a)(B) Check One

        ☒ None. If “None” is checked, the rest of §3.C need not be completed or reproduced.


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           ☐ The allowed priority claims listed below are based on a domestic support obligation that has been
           assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This
           Plan provision requires that payments in §1.A be for a term of 60 months (see 11 U.S.C. §1322(a)(4)).



                          Name of Creditor                                            Estimated Total Payment




4. UNSECURED CLAIM

       A. Claims of Unsecured Nonpriority Creditors Specially Classified Check One

           ☒ None. If “None” is checked, the rest of §4.A need not be completed or reproduced.
           ☐ To the extent that funds are available, the allowed amount of the following unsecured claims, such as
           co-signed unsecured debts, will be paid before other, unclassified, unsecured claims. The claim shall be
           paid interest at the rate stated below. If no rate is stated, the interest rate set forth in the Proof of Claim
           shall apply.

                                                                         Estimated                         Estimated
                                            Reason for Special                              Interest
       Name of Creditor                                                  Amount of                           Total
                                              Classification                                 Rate
                                                                           Claim                           Payment




       B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds remaining after
          payment of other classes.

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES Check One

           ☒ None. If “None” is checked, the rest of §5 need not be completed or reproduced.
           ☐ The following contracts and leases are assumed (and arrears in the allowed claim to be cured in the Plan)
           or rejected:

                      Description of
Name of Other                             Monthly          Interest       Estimated       Total Plan       Assume or
                       Contract or
   Party                                  Payment           Rate           Arrears         Payment           Reject
                          Lease




6. VESTING OF PROPERTY OF THE ESTATE
   Property of the estate will vest in the Debtor upon: Check the Applicable Line

           ☐ Plan Confirmation
           ☒ Entry of Discharge
           ☐ Closing of Case

7. DISCHARGE Check One

           ☒ The Debtor will seek a discharge pursuant to §1328(a).
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                 ☐ The Debtor is not eligible for a discharge because the Debtor has previously received a discharge
                 described in §1328(f).

    8. ORDER OF DISTRUBITION

         If a pre-petition Creditor files a secured, priority or specifically classified claim after the bar date, the Trustee will
         treat the claim as allowed, subject to objection by the Debtor.

         Payments from the Plan will be made by the Trustee in the following order:
         Level 1:
         Level 2:
         Level 3:
         Level 4:
         Level 5:
         Level 6:
         Level 7:
         Level 8:

         If the above levels are filled in, the rest of §8 need not be completed or produced. If the above levels are not filled-
         in, then the Order of Distribution of Plan payments will be determined by the Trustee using the following as a guide:

         Level 1: adequate protection payments
         Level 2: Debtor’s attorney’s fees
         Level 3: Domestic Support Obligations
         Level 4: priority claims, pro rata
         Level 5: secured claims, pro rata
         Level 6: specifically classified unsecured claims
         Level 7: timely filed general unsecured claims
         Level 8: untimely filed general unsecured claims to which the Debtor has not objected

    9. NONSTANDARD PLAN PROVISIONS

         Include the additional provisions below or on an attachment. Any nonstandard provision placed elsewhere
         in the Plan is void. (NOTE: The Plan and any attachment must be filed as one document, not as a Plan and
         Exhibit.)




         10/20/2023                                          /s/ Paul D. Murphy-Ahles
Dated:
                                                             Attorney for Debtor

                                                             /s/ Arthur Paul Price

                                                             Debtor 1


By filing this document, the Debtor, if not represented by an Attorney, or the Attorney for Debtor also certifies that this
Plan contains no nonstandard provisions other than those set out in §9.




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